Case 4:19-cr-00067-RSB-CLR Document 4 Filed 05/08/19 Page 1of5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 

SAVANNAH DIVISION
UNITED STATES OF AMERICA ) INDICTMENT NO.
)
v. ) 18 U.S.C. § 1349
) Conspiracy to Commit Bank Fraud
GHALEB ALAUMARY )
alkla “CANADA” ) Cr419 067
a/k/a “OCKIE” )

THE GRAND JURY CHARGES THAT:
INTRODUCTION
1. At all times material to this Indictment, Regions Bank and BBVA
Compass Bank were financial institutions whose deposits were insured by the

Federal Deposit Insurance Corporation.

COUNT ONE
Conspiracy to Commit Bank Fraud
18 U.S.C. § 1349
a From in or around October 2017 and continuing through December
2017, in Chatham County, within the Southern District of Georgia, and elsewhere,
GHALEB ALAUMARY,
a/k/a “CANADA,”
a/k/a “OCKIE,”
did knowingly combine, conspire, confederate and agree with others known and
unknown to the Grand Jury to commit Bank Fraud, that is, to execute and attempt

to execute a scheme and artifice to defraud financial institutions and to obtain monies

under the custody and control of financial institutions by means of false and
Case 4:19-cr-00067-RSB-CLR Document4 Filed 05/08/19 Page 2 of 5

fraudulent pretenses, representation and promises, in violation of Title 18, United
States Code, Section 1344.
The Manner and Means of the Conspiracy
It was a part of the conspiracy and among its manner and means that:

3. Coconspirators would and did unlawfully acquire the personal
identifying information (“PII”) and confidential bank account information of other
individuals without their consent.

4. Coconspirators would and did create false identification documents
using the names of real victims.

5. | Coconspirators would and did memorize the PII and confidential bank
account information of real victims, including victims at Regions Bank and BBVA
Compass Bank, among other financial institutions.

6. | Coconspirators would and did deposit and transfer and attempt to
deposit and transfer the proceeds of the conspiracy into bank accounts that were
opened in the names of fictitious businesses.

7. Coconspirators would and did use telephone calls, text messaging,
email, and WhatsApp to communicate with each other about the conspiracy.

Overt Acts

In furtherance of the conspiracy and to affect the objects of the conspiracy,
the following overt acts, among others, were committed:
8. On or about October 30, 2017, ALAUMARY caused to be purchased an
airline ticket for a coconspirator’s travel from Florida to Texas, so that the

coconspirator could impersonate wealthy bank customers in Texas.
Case 4:19-cr-00067-RSB-CLR Document 4 Filed 05/08/19 Page 3 of 5

9.  Onor about November 12, 2017, ALAUMARY caused to be purchased
an airline ticket for a coconspirator’s travel from Florida to Texas, and a hotel room
in Dallas, Texas for the coconspirator, so that the coconspirator could impersonate
wealthy bank customers in Texas.

10. On or about November 27, 2017, in Chatham County, within the
Southern District of Georgia, a coconspirator conducted a telephone call with another
coconspirator during which they discussed using unlawfully obtained confidential
bank account information to conduct financial transactions in accounts held at BBVA
Compass Bank and other financial institutions.

11. Onor about December 1, 2017, ALAUMARY caused to be purchased an
airline ticket for a coconspirator’s travel from Florida to Texas, and a hotel room in
Dallas, Texas for the coconspirator, so that the coconspirator could impersonate
wealthy bank customers in Texas.

12. On or about December 1, 2017, ALAUMARY sent a text message to a
coconspirator confirming that he had booked the coconspirator’s hotel and flight
reservations for travel to Dallas, Texas.

138. On or about December 3, 2017, ALAUMARY conducted several
telephone calls with a coconspirator to ensure the coconspirator successfully traveled
to Texas.

14. On or about December 4, 2017, ALAUMARY conducted a telephone call
with a coconspirator in which he instructed the coconspirator on the fraudulent

activity to take place, stating: “this week we are not opening. We are shooting. You
Case 4:19-cr-00067-RSB-CLR Document 4 Filed 05/08/19 Page 4 of5

understand what I mean?” In that call, ALAUMARY told the coconspirator: “That’s
all we doing, shooting, shooting, shooting ‘cause we need to get paid this time. ‘Cause,
you know I’m already six grand in the hole from hotels and flights.”

15. Onor about December 4, 2017, ALAUMARY conducted a telephone call
with a coconspirator during which they discussed unlawfully obtaining money from
a victim’s account held at the BBVA Compass Bank. During the telephone call,
ALAUMARY told the coconspirator that “our money’s going to come,” and that “we
do long-term work. We don’t do like short-term petty shit.”

All done in violation of Title 18, United States Code, Section 1349.
Case 4:19-cr-00067-RSB-CLR Document 4 Filed 05/08/19 Page 5of5

A True Bill.

 

 

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